
1 Cal.App.2d 380 (1934)
THE PEOPLE, Respondent,
v.
ROY MYERS et al., Appellants.
Crim. No. 174. 
California Court of Appeals. Fourth Appellate District.  
October 11, 1934.
 Arthur Frame for Appellants.
 U.S. Webb, Attorney-General, and Frank Richards, Deputy Attorney-General, for Respondent.
 Barnard, P. J.
 [1] The defendants were jointly charged with the crime of burglary. A jury found each defendant guilty of burglary in the first degree and from the ensuing judgment, each defendant has appealed. The transcript was filed in this court on August 1, 1934, and the cause regularly placed on the calendar for September 11, 1934, for oral argument. No appearance was made on behalf of the appellant Rackley, no brief has been filed for him, and the attorney who acted for him in the trial court has sent in a letter stating that no brief would be filed. The attorney-general has moved to affirm the judgment as to Rackley under section 1253 of the Penal Code.
 The judgment against the defendant Rackley is affirmed.
 Marks, J., and Jennings, J., concurred.
